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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

 v.                                                         Case No. 1:21-cr-003 (RCL)

 JACOB ANTHONY CHANSLEY,

        Defendant.


                                             ORDER

       Before the Court is defendant's motion to admit William L. Shipley pro hac vice [101].

Local Civil Rule 83.2(d) instructs that any attorney seeking to appear pro hac vice must file a

motion setting forth, among other things, a list of all bars to which the attorney has been admitted.

This Court has reason to believe that Mr. Shipley was admitted to the State Bar of California in

1998. The Court hereby ORDERS defendant to supplement his motion with a list of all bars to

which Mr. Shipley has been admitted. The Court further ORDERS defendant to supplement his

motion with an explanation as to why Mr. Shipley is not eligible to practice law in California.



It is SO ORDERED.


Date: November� 2021
                                                              Hon. Royce C. Lamberth
                                                              United States District Judge
